                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


 BRIAN P. MANOOKIAN,                               )
                                                   )
                Plaintiff,                         )
                                                   )
        v.                                         )    NO: 3:19-cv-0350
                                                   )
 FLOYD FLIPPIN, in his official and                )    Judge William L. Campbell, Jr.
 individual capacities; DANA DYE, in her           )
 official and individual capacities; JOHN          )    Magistrate Judge Alistair E. Newbern
 KITCH, in his official and individual             )
 capacities; JOE LOONEY, in his official           )
 and individual capacities; ODELL                  )
 HORTON, JR., in his official and                  )
 individual capacities; RUTH ELLIS, in             )
 her official and individual capacities;           )
 JODY PICKINS, in her official and                 )
 individual capacities; BRIDGET J.                 )
 WILLHITE, in her official and individual          )
 capacities; and JIMMIE MILLER, in her             )
 official and individual capacities,               )
                                                   )
                Defendants.                        )


                        MOTION OF ALL DEFENDANTS
              FOR POSTPONEMENT OF PRODUCTION REQUIREMENT
                           OF RULE 26(a)(1)(A)(iv)


       All Defendants hereby request permission to postpone the requirement of Rule

26(a)(1)(A)(iv) to produce as a part of initial disclosures any insurance agreement under which an

insurance business may be liable to satisfy all or part of a possible judgment in this action until

this Court has ruled upon the Motion of All Defendants to Dismiss Complaint [Doc. 23], which is

based primarily on defenses of absolute and qualified immunities.




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                                 Local Rule 7.01(a)(1) Statement

       Undersigned counsel, in compliance with Local Rule 7.01(a)(1), has conferred with

opposing counsel about the relief requested in this motion. Opposing counsel objects to the relief

requested herein but does not object to the filing of this motion.

                                           Background

       On June 11, 2019, all Defendants filed a Motion to Dismiss Complaint [Doc. 23], which is

based primarily on defenses of absolute and qualified immunities. The Court has not yet ruled on

that motion. On July 16, 2019, the Magistrate Judge entered the Initial Case Management Order

[Doc. 32], which provides that “the parties shall exchange initial disclosures pursuant to Fed. R.

Civ. P. 26(a)(1) within 30 days of the initial case management conference, by August 15, 2019.”

[Doc. 32, Page ID 423] The order further stayed all deadlines to respond to discovery pending

resolution of Defendants’ Motion to Dismiss. [Id. at Page ID 423-424]

       The parties exchanged initial disclosures on August 15, 2019. Defendants addressed the

requirement of Rule 26(a)(1)(A)(iv) to produce insurance agreements as follows: “Some

defendants may have policies of insurance that would cover an individual damage award against

them. Final determinations of coverages have not been made, and this partial disclosure will be

supplemented if and when appropriate.” Since August 15, 2019, every Defendant has determined

that he or she is a named insured on a professional malpractice policy, or an umbrella liability

policy, or both. One or more Defendants have notified their carrier(s). One or more Defendants

have received an acknowledgement of a claim with a reservation of rights.           One or more

Defendants have elected not to notify their carrier. No carrier has acknowledged that its policy in

fact provides coverage for all or part of the claims asserted in the Complaint.




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       In light of the stay of the requirement to respond to discovery pending a ruling on

Defendants’ Motion to Dismiss, undersigned counsel has asked opposing counsel to agree to

postpone production of insurance agreements until the Court has ruled on the Motion to Dismiss.

Opposing counsel has declined and has asked that Defendants seek relief from the Court.

                               Argument and Request for Relief

       A requirement to produce documents as a part of initial disclosures places defendants under

the same burden as a requirement to produce documents in response to a discovery request under

Rule 34, to which Rule 26(a)(1)(A)(iv) expressly refers. Many courts, including this Court in the

Initial Case Management Order, have recognized that defendants who have asserted immunities

should be relieved of pretrial matters such as discovery until a determination of applicable

immunities has been made. See Mitchell v. Forsyth, 472 U.S. 511, 525-27, 105 S.Ct. 2806, 2815-

16 (1985)(internal citations omitted); Brookings v. Clunk, 389 F.3d 614, 616-17 (6th Cir. 2004);

GJR Investments, Inc. v. City of Escambia, Fla., 132 F.3d 1359, 1370 (11th Cir. 1998). Otherwise,

one of the primary benefits of immunities defenses is lost, thereby disrupting government functions

and discouraging other qualified individuals from serving in similar capacities. Id. The extent of

insurance coverage for any of these Defendants is not relevant to Plaintiff’s efforts to make an

initial case for liability. Moreover, disclosure of such highly personal information is overly

intrusive and unnecessary at this stage of the case, even if it were proceeding. This is precisely

the type of information that should be exempt from disclosure while a dispositive motion to dismiss

is pending. Otherwise, the protection afforded by these immunities is lost.

       For the reasons stated Defendants request that they be relieved of the requirement to

produce insurance agreements until after the Court has ruled on their Motion to Dismiss.




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                                                    Respectfully Submitted,

                                                    HERBERT H. SLATERY III
                                                    Attorney General and Reporter


                                                       s/Talmage M. Watts____
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                                                    Counsel for Defendants



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and exact copy of the foregoing Motion of All
Defendants for Postponement of Production Requirement of Rule 26(a)1)(A)(iv) has been served
on the persons listed below by means of this Court's electronic filing system:

                Daniel Horwitz (#032176)                   Jarod Bona
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                                                           aaron.gott@bonalawpc.com

                                                           Counsel for Plaintiff

on this the 16th day of October, 2019.

                                                      s/Talmage M. Watts
                                                 TALMAGE M. WATTS
                                                 Senior Assistant Attorney General




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